        Case: 3:21-cv-00158-jdp Document #: 11 Filed: 05/10/21 Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN


ALASDAIR DAVID MCADAM MARIOTTI,
                                                             PRELIMINARY PRETRIAL
                      Petitioner,                             CONFERENCE ORDER
       v.
BETHANY ROSE RYCZEK,                                                21-cv-158-jdp

                      Respondent.




       This court held a telephonic preliminary pretrial conference on May 4, 2021. Petitioner

appeared by Kenneth Sipsma. Defendant appeared by Nathaniel Cade, Jr. The court set the

schedule for this case and advised the parties that their conduct throughout this case is governed

by this pretrial conference order and the attachments to it.

       The parties and their attorneys must at all times treat everyone involved in this lawsuit

with courtesy and consideration. The parties must attend diligently to their obligations in this

lawsuit and must reasonably accommodate each other in all matters so as to secure the just,

speedy and inexpensive resolution of each proceeding in this matter as required by Fed. R. Civ.

Pro. 1. Failure to do so shall have consequences.




1.     Disclosure of Experts: Petitioner: May 21, 2021

                                 Respondent: June 11, 2021

                                 Rebuttal: June 25, 2021

       All disclosures mandated by this paragraph must comply with the requirements of Rule

26(a)(2). Any employee of a party who will be offering expert opinions during any phase of this

case must provide a written report that complies with Rule 26(a)(2)(B).
        Case: 3:21-cv-00158-jdp Document #: 11 Filed: 05/10/21 Page 2 of 5




       Supplementation of an expert’s report pursuant to Rule 26(e) must be in writing and

must be served not later than five calendar days before the expert’s deposition, or before the

general discovery cutoff if no one deposes the expert. Supplementation under Rule 26(e) is

appropriate only to correct mistakes and oversights, not to include new examples, illustrations,

or analyses that could have been included in an original expert report. Any further expert report

is allowed only by stipulation of all parties, or by leave of court.

       The court does not formally qualify witnesses as experts. If an opposing party believes

that an expert’s testimony should be disallowed or limited, the opposing party should move to

exclude the testimony before trial, typically at summary judgment or through a motion in limine.

It may be appropriate for the opposing party to file a separate Daubert motion, particularly if

the putative deficiencies of the expert are apparent significantly before the summary judgment

deadline.

       Failure to comply with these deadlines and procedures could result in the court striking

the testimony of a party’s experts pursuant to Rule 37. The parties may agree between

themselves to modify these deadlines, so long as the modification does not affect the deadlines

for filing documents with the court.




2.     Discovery Cutoff: June 25, 2021

       All discovery in this case must be completed not later than the date set forth above,

absent written agreement of all parties to some other date. Absent written agreement of the

parties or a court order to the contrary, all discovery must conform with the requirements of


                                                 2
        Case: 3:21-cv-00158-jdp Document #: 11 Filed: 05/10/21 Page 3 of 5




Rules 26 through 37 and 45. Rule 26(a)(1) governs initial disclosures unless the parties agree

in writing to the contrary.

       The following discovery materials shall not be filed with the court unless they concern a

motion or other matter under consideration by the court: interrogatories; responses to

interrogatories; requests for documents; responses to requests for documents; requests for

admission; and responses to requests for admission.

       A party need not file a deposition transcript with the court until that party is using the

deposition in support of some other submission, at which time the entire deposition must be

filed. All deposition transcripts must be in compressed format. The court will not accept

duplicate transcripts. The parties must determine who will file each transcript.

       A party may not file a motion regarding discovery until that party has made a good faith

attempt to resolve the dispute. All efforts to resolve the dispute must be set forth in any

subsequent discovery motion filed with this court. By this order, the court requires all parties to

a discovery dispute to attempt to resolve it quickly and in good faith. Failure to do so could

result in cost shifting and sanctions under Rule 37.

       This court also expects the parties to file discovery motions promptly if self-help fails.

Parties who fail to do so may not seek to change the schedule on the ground that discovery

proceeded too slowly to meet the deadlines set in this order.

       All discovery-related motions must be accompanied by a supporting brief, affidavit, or

other document showing a prima facie entitlement to the relief requested. Any response to a

discovery motion must be served and filed within seven calendar days of service of the motion.

Replies may not be filed unless requested by the court.



                                                3
        Case: 3:21-cv-00158-jdp Document #: 11 Filed: 05/10/21 Page 4 of 5




3.     Rule 26(a)(3) Disclosures and all motions in limine: July 16, 2021

                                                       Responses: July 30, 2021

       The first date is the deadline to file and serve all Rule 26(a)(3) disclosures, motions in

limine, plus all other materials required by the Order Governing the Final Pretrial Conference

in Bench Trials, which is attached. The second date is the deadline for responsive submissions.




4.     Final Pretrial Conference: August 11, 2021 at 4:00 p.m.

       Lead counsel for each party must appear in person. Any deposition that has not been

filed with the Clerk of Court by the date of the final pretrial conference shall not be used by any

party for any purpose at trial.




5.     Trial: August 18, 2021 at 9:00 a.m.


       Trial shall be to the court. The parties estimate that this case will take three days to try.

Absent further order of this court, the issues to be tried shall be limited to those identified by

the parties in their pretrial conference report to the court. The court shall try the issues of

liability and damages without bifurcation. A copy of this court’s procedural order for non-jury

cases is attached.


       This case will be tried in an electronically equipped courtroom and the parties shall

present their evidence using this equipment. Counsel shall ensure the compatibility of any of




                                                 4
        Case: 3:21-cv-00158-jdp Document #: 11 Filed: 05/10/21 Page 5 of 5




their personal equipment with the court’s system prior to the final pretrial conference or shall

forfeit their right to use any personal equipment that is not compatible with the court’s system.




6.     Reporting Obligation of Corporate Parties.


       All parties that are required to file a disclosure of corporate affiliations and financial

interest form have a continuing obligation throughout this case promptly to amend that form

to reflect any changes in the answers.




       Entered this 10th day of May, 2021.


                                            BY THE COURT:


                                            /s/

                                            STEPHEN L. CROCKER
                                            Magistrate Judge




                                                  5
